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                    UNITED STATES DISTRICT COURT
                      DISTRICT OF MASSACHUSETTS

                                                        CIVIL ACTION
                                                        DOCKET NUMBER

______________________________
                              )
SALIN NUTH,                   )
          Plaintiff           )
                              )
V.                            )
                              )
KELLY SERVICES, INC., and     )
PAUL BORDONARO, Individually )
and as an employee, and       )
ANDREW VAN KURN, Individually )                   COMPLAINT
and as an employee;           )
AND OTHER AS YET UNNAMED      )
KELLY SERVICES EMPLOYEES,     )
Individually and as employees,)
          Defendants          )
______________________________)


                                Parties

          1.    Salin Nuth resides at 84 Perry Street, Lowell,

Massachusetts, 01852, was an employee and was supervised by and

worked as a colleague with the Defendants.

          2.    Kelly Services is a corporation which employed

more than twenty other employees and the Plaintiff from August

2006 through April 2009 out of its Woburn, Massachusetts

headquarters located at 500 West Cummings Park, Suite 1100,

Woburn 01801   and subject to the duties and requirements imposed

by the U.S. Constitution and applicable federal law as well as


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the Massachusetts Declaration of Rights and applicable state law.

          3.   Paul Bordonaro was at the time of the transactions

and occurrences that are the subject of this Complaint

Plaintiff’s supervisor as part of his position as Regional Vice

President of Kelly Services, Inc.

          4.    Andrew Van Kurn, Account Manager, and other unnamed

Kelly Services employees were at the time of the within

transactions and occurrences employees of Kelly Services Inc.


                             Jurisdiction

          5.    This action arises under U.S.C.A. Const.Amend. 14,

29 U.S.C. §2601 et seq (Family Medical Leave Act),42 U.S.C.

§2000e(2)(Equal Employment Opportunity Act), 42 U.S.C.

§2000e(k)(Pregnancy Discrimination Act), Title VII of the Federal

Civil Rights Act of 1964; The Civil Rights Act of 1991, The

Americans with Disabilities Act of 1990, the Massachusetts

Declaration of Rights, M.G.L.A. c. 12 s.11H-I, M.G.L.A. c. 151B,

M.G.L.A. c. 214 §1B    and M.G.L.A. c. 149 s. 105D where plaintiff

alleges violations of her federal constitutional rights and of

federal statutes in transactions and occurrences taking place

within this District, a federal question pursuant to 29 U.S.C.

1331. Further, Plaintiff has satisfied administrative prerequisites

pursuant to G.L. c. 151b and Title VII in full.


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                                   Facts

            6.    Salin Nuth was an experienced staffing supervisor

for a Kelly Services Branch making $38,000.00 per year plus bonuses

since she was hired on August 26, 2006.         The company elevated her

to the position of onsite coordinator at a salary of $48,000.

Her rise in the company and the praise she received for her job

performance by her superiors and company clients led her to believe

that she would continue to significantly contribute to the company

and experience continued growth in her career. While granting her

request for family and medical leave benefits guaranteed by state

and federal law to which they acknowledged she was entitled, the

Defendants terminated her on April 20, 2009, the day of her

return–though they had never given her any previous indication that

she would face a layoff or termination of any kind.

            7. Ms. Nuth has since learned that she was robbed of her

career when the Defendants discriminated against her due to her

race,   gender   and   family   status,    causing   her   to   suffer   the

consequences of adverse employment decisions they claimed were due

to market forces but which she now knows were discriminatory.

When respondents intimidated her and attempted to coerce her to

sign an unfair “severance agreement” she responded by engaging in

good faith negotiations in an attempt to resolve her dispute with



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the Defendants.

             8.      On or about June 29, 2009 the Defendants, claiming

her termination was due to the end of the Google contract and

admitting for the first time they had jettisoned her attempt to

obtain an August 2007 promotion rejected her proposed revisions to

the severance agreement. Plaintiff thus learned that the selection

of Defendant Andrew Kurn, a less qualified white male, over her for

the August 2007 promotion was due to gender and race discrimination

and not the non-existence of the higher position as Defendants

claimed at the time.          Further, the June 29, 2009 admission by

Defendants that one of their unidentified regional managers had

alleged     negative    professional    development       performance   to   the

manager     hiring     for   the   position   was   a     new   revelation   for

Complainant–who had been told at the time she inquired about the

promotion that no such position was open.               None of the “concerns”

claimed by the Defendants that were raised with the hiring manager

by the regional manager were ever discussed with Complainant.

             9.      On or about July 22, 2009 Plaintiff discovered the

pretextual nature of the claim made by the Defendants that she had

been laid off at the end of her maternity leave because the

account she had worked on with the Defendant’s customer Google had

ended.     Ms. Nuth learned that in fact, her less experienced and




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less qualified Caucasian childless co-worker on the Google account,

Jennifer Sullivan, had not been laid off but had instead been

assigned her duties after the Google contract with Kelly Services

ended.     These duties involved senior sales, training for movement

and business development and she reported directly to Defendant

Paul   Bordonaro.       Indeed,      this    confirmed      and   evidenced    what

Plaintiff had merely suspected: that her termination the day she

returned     from   maternity   leave       was   not   a   legitimate   business

decision made due to the end of the Google contract but was

instead an act of discrimination against her due to her race and

her family status and need for maternity leave in violation of the

FMLA and the Massachusetts Family and Medical Leave Act.

             10. Throughout Plaintiff’s career she has steadily risen

in the company and has received glowing performance reviews for her

work, until she was the victim of race, gender and family status

discrimination by the Defendants who have since perpetrated a smear

campaign against her that caused other employers not to hire her

despite her obvious qualifications for the work she sought.

             11.     Because    of     the    coercive      and   discriminatory

misconduct by the Defendants, Plaintiff has suffered a sense of

hopelessness and depression that has left her experiencing stomach

trouble,     headaches,    difficulty        sleeping,      anxiety   and     other




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symptoms.      This   once    proud   and   productive     professional    was

humiliated    by   the     repeated   and   persistent    refusal   by   other

companies to give her a chance at a new job because of the false

and defamatory claims and statements the Defendants made about her.

Their misconduct has not only damaged her career and her sense of

well-being, but     interfered with her ability to earn any income at

all despite her experience and professionalism.

             12. Plaintiff now knows that claims made by her employer

that what they called a layoff necessitated by the ending of their

contract with a customer was in fact a wrongful termination in

retaliation for taking family and medical leave benefits to which

she was indisputably entitled–that the employer’s refusal to grant

her a promotion for which she was qualified was motivated by racial

and gender animus–and the coercive misconduct and defamation by the

Defendants continues to interfere with her physical and emotional

health,   ability     to    earn   income   and   her   essential   dignitary

interests to this day.

                               Claims for Relief

                                   COUNT I.
                              (FMLA VIOLATIONS)

             13. Plaintiff realleges paragraphs 1- 12 and incorporates

the same as if fully set forth herein.

             14. Defendants owed Plaintiff a duty to comply with the


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state and federal Family and Medical Leave laws and breached said

duty.

             15.   Defendant’s acts and omissions violated 29 U.S.C.

§ 2601 et seq,      42 U.S.C. § 2000 (e) k and G.L.C. 149 §105 whereby

Plaintiff is entitled to and has been denied Family Medical leave.

Plaintiff immediately notified Defendants of her claims. Plaintiff

also notified Defendants of the damages she sustained at the time,

and avers that Defendants’ misconduct has caused her to suffer loss

of income and physical and emotional harm.

             16.   Defendants were further notified of Plaintiff's

claims pursuant to M.G.L. c. 151b when Plaintiff filed her

complaint with the Massachusetts Commission Against Discrimination.


                               COUNT II.
               (RACE and NATIONAL ORIGIN DISCRIMINATION)

             17.   Plaintiff, Salin Nuth, realleges paragraphs

1-16     and incorporates the same by reference in this

Count.

             18.   Defendants   owed   Plaintiff   a   duty   to   treat   her

substantially the same as similarly situated members of racial and

national origin majority group members.

             19.   Defendants wilfully refused and recklessly and

negligently failed to treat Plaintiff, an Asian Pacific Islander



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substantially the same as similarly situated national origin and

racial majority group members in violation of her rights under

42 U.S.C. §2000e-2.

             20.   Plaintiff suffered injuries requiring treatment,

loss of income and damage to her ability to earn income, and great

pain of mind and body that continues to this day as a result of

Defendants' violations of her constitutional rights.



                                 COUNT III.
                          (GENDER DISCRIMINATION)

             21.   Plaintiff realleges paragraphs 1-12 and paragraphs

14-16 of Count I and incorporates the same by reference in this

Count.

             22.   Defendants     unlawfully      discriminated      against

Plaintiff on the basis of gender in violating the state and federal

Family Medical Leave acts.

             23. Defendants unlawfully discriminated against

Plaintiff when they denied her a promotion to which she was

entitled and instead gave the position to a less qualified male

candidate and told her that there was no such position.

             24.   Defendants due to their gender bias and their

discriminatory animus against Plaintiff because of her gender

deprived Plaintiff of a promotion to which she was entitled, and


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then deprived her of her ability to earn any income at all when

they terminated her the day of her return from maternity leave.

Said misconduct has deprived Plaintiff of her income and caused her

great pain of body and mind.

                               COUNT IV.
              (MASSACHUSETTS CIVIL RIGHTS ACT VIOLATIONS)

          25.     Plaintiff hereby realleges all paragraphs of all

counts and incorporates them by reference into this count.

          26.     Plaintiff repeatedly endeavored to obtain accurate

information about her position with the Defendants on the day she

was scheduled by them to return from maternity leave.

          27.     Defendants wilfully failed and refused to provide

Plaintiff with information to which she was entitled, sending her

to locations for meetings only to change those locations at the last

minute.

          28.     Defendants threatened and intimidated Plaintiff

over questions she asked regarding her employment in the weeks

following her termination in an attempt to coerce her to sign an

unfair “severance agreement” based on the misinformation provided

her by Defendants including but not limited to false statements of

her rights.     Said conduct violated of Plaintiff’s civil rights.

          29.     Said conduct rendered Plaintiff afraid to exercise

her rights to speak freely and seek redress of her grievances in


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violation of M.G.L. A. c. 12 §11I.


                            COUNT V.
     (INTERFERENCE WITH ADVANTAGEOUS CONTRACTUAL RELATIONS)

          30.   Plaintiff hereby realleges all paragraphs of all

counts and incorporate them by reference into this count.

          31.   Said conduct has interfered with and damaged

present and potential business relationships between Plaintiff

and others in her business community.

          32.   As a result, Plaintiff’s ability to earn a living

has been damaged and she has endured financial losses.

                        COUNT VI(DEFAMATION)

          33.   Plaintiff hereby realleges all paragraphs of all

counts and incorporates them by reference as if fully set forth

herein.
          34.   On or about April 20, 2009 and divers prior and

subsequent dates, Defendants and their agents and employees made

disparaging and derogatory oral and written statements about

Plaintiff to third parties.

          35.   Included in said statements were allegations that

Plaintiff was unfit or incapable of performing in her chosen

career.

          36.   On or about June 29, 2009, Defendants,

falsely and maliciously disparaged Plaintiff’s professionalism



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in correspondence and statements to a third party.

           37.   Said misconduct was defamatory per se.

           38.   Said misconduct caused Plaintiff to suffer damage

to her reputation and the loss of business opportunities we well

as physical and emotional harm.

                             COUNT VIII
         (RETALIATION IN VIOLATION OF FEDERAL TITLE VII and
                                M.G.L. c. 151b)

           39.   Plaintiff realleges paragraphs 1-12, paragraphs

26-29 Count IV, paragraphs 31-32 of Count V, paragraphs

34-38 of Count VI and incorporate the same by reference into this

Count.

           40.   The acts complained of by Defendants

constitute retaliation against Plaintiff in violation of 42

U.S.C. §2000e-3 and M.G.L. c. 151b4(4).

           41.   Plaintiff has suffered intimidation, physical and

emotional injury and interference in her ability to earn income

as a result of Defendants’ misconduct.

                        Demands for Judgment

           Plaintiff respectfully demands a trial by jury

on all issues to the full extent provided by law.

WHEREFORE Plaintiff, prays    for judgment:

           1.   Awarding Plaintiff compensatory damages, with
           interest;


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    2.    Awarding Plaintiff punitive damages;

    3.   Awarding Plaintiffs cost, including reasonable
    attorneys fees, pursuant to 42 U.S.C.A. §2000(e) and
    M.G.L. c. 151b.

    4.   Granting such other and further relief as the
    Court may deem just and proper.



                            Respectfully submitted,
                            Salin Nuth
                            By her attorney

                            /s Elizabeth M. Clague
                                 _____
                            ________________________
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